Case 1:17-cv-24444-UU Document 10 Entered on FLSD Docket 12/08/2017 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:17-cv-24444-UU

 CENTER FOR BIOLOGICAL DIVERSITY, et al.,

        Plaintiffs,

 v.

 RYAN ZINKE, et al.,

       Defendants.
 ______________________________________________________/

                      ORDER GRANTING PLAINTIFFS’ MOTION FOR
                         TEMPORARY RESTRAINING ORDER

        Upon consideration of Plaintiffs’ Motion for Temporary Restraining Order and/or

 Preliminary Injunction (D.E. 4), the accompanying declarations, and any opposition thereto, the

 arguments of counsel and the entire record in this action:

        The Court finds that (1) Plaintiffs, at least, have shown a substantial likelihood of

 prevailing on the merits of their claims alleging procedural errors in the issuance of the ITP and

 the Coral Reef Commons EA associated with permit number TE15009C-0; (2) Plaintiffs will

 suffer immediate and irreparable injury arising from the destruction of the pine rocklands, and

 the loss of threatened and endangered species that depend on such habitat for their survival

 absent issuance of this TRO; (3) if the requested relief is not granted, the harm suffered by

 Plaintiffs will exceed the harm suffered by Defendants and the Permit Applicant from delay; and

 (4) the public interest favors the entry of such an order.

        It is therefore:

        ORDERED AND ADJUDGED that Defendants’ approvals for Coral Reef Commons

 project Permit Number TE15009C-0 and the associated Coral Reef Commons Habitat
Case 1:17-cv-24444-UU Document 10 Entered on FLSD Docket 12/08/2017 Page 2 of 3



 Conservation Plan, Incidental Take Permit, Biological Opinion, and Environmental

 Assessment—are hereby stayed. It is further

        ORDERED AND ADJUDGED that Defendants and their respective officers, agents,

 servants, employees, attorneys, and persons acting in concert or participation with them are

 enjoined from authorizing any activities at the Project site. It is further

        ORDERED AND ADJUDGED that, in accordance with Fed. R. Civ. P. 65(c) and Nat.

 Res. Def. Council v. Morton, 337 F. Supp. 167, 169 (D.D.C. 1971), this temporary restraining

 order shall be effective upon Plaintiffs’ giving a security in the amount of $1 by depositing that

 amount with the Clerk of the Court. It is further

        ORDERED AND ADJUDGED that, in accordance with Fed. R. Civ. P. 65(b), this

 temporary restraining order SHALL EXPIRE twelve (14) days after entry upon the docket (that

 is, on December 22d, 2017), unless extended for good cause shown. It is further

        ORDERED AND ADJUDGED that                    Plaintiffs SHALL serve their complaint, their

 motion and supporting exhibits, and this Order on Defendants forthwith.

                           PRELIMINARY INJUNCTION HEARING

        It is further

        ORDERED AND ADJUGED that each Defendant shall APPEAR before this Court on

 December 20, 2017 at 9:30 A.M. in the Courtroom of Magistrate Judge John J. O’Sullivan to

 SHOW CAUSE, if there is any reason why this Court should not enter a preliminary injunction,

 enjoining the violations of law alleged in Plaintiffs’ Complaint, and imposing such additional

 relief as may be appropriate. It is further

        ORDERED AND ADJUDGED that Defendants SHALL file with the Court and serve on

 Plaintiffs’ counsel any answering affidavits, pleadings, motions, expert reports or declarations,
Case 1:17-cv-24444-UU Document 10 Entered on FLSD Docket 12/08/2017 Page 3 of 3



 and/or legal memoranda no later than seven (7) days prior to the hearing on Plaintiffs’ request for

 preliminary injunction. It is further

        ORDERED AND ADJUDGED that Plaintiffs may file responsive or supplemental

 pleadings, materials, affidavits, or memoranda with the Court and serve the same on counsel for

 Defendants no later than three (3) days prior to the preliminary injunction hearing.

        DONE AND ORDERED in Chambers at Miami, Florida, this 8th day of December,
 2017, at time:
 1:15PM.



                                                      _______________________________
                                                      UNITED STATES DISTRICT JUDGE
 cc:
 counsel of record via cm/ecf
